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        EXHIBIT E
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                                                                         Page 324
 1              CONFIDENTIAL - HUGH SAWYER
 2            UNITED STATES BANKRUPTCY COURT
 3             FOR THE DISTRICT OF DELAWARE
 4   --------------------------------X
     In Re:
 5

     ENERGY FUTURE HOLDINGS
 6   CORPORATION, et al.,
 7                          Debtors.
 8   Chapter 11
     Case No. 14-0979
 9   Jointly Administered
     --------------------------------X
10

11

12         *** C O N F I D E N T I A L ***
13

14                VIDEOTAPED DEPOSITION
15                              OF
16                       HUGH SAWYER
17              Wednesday, October 8, 2014
18                 Seven Times Square
19                   New York, New York
20

21

22   Reported by:
     AYLETTE GONZALEZ, RPR, CLR, CCR
23   JOB NO. 85457
24

25



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                                          Page 341                                              Page 342
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2   a fiduciary duty to to inquire as to their        2   other than the meeting that you mentioned,
 3   desires and how they see the case?                3   have you had any communications with T-side
 4       A. Not at this stage of the process.          4   creditors' representatives; that is, counsel
 5       Q. Is that something you intend to do?        5   or financial advisors or others in this case?
 6       A. I don't have any intention at this         6       A. No, not that I recall.
 7   point, but based on the advice of counsel or      7       Q. And have you asked -- strike that.
 8   the advisors or based on feedback from the        8          Have you considered reaching out to
 9   company management, I would consider it.          9   the professionals representing any T-side
10       Q. Have you received any advice, to          10   creditors in this case?
11   date, from counsel as to whether or not you      11       A. I have not considered that.
12   should reach out to -- and let me clarify, I'm   12       Q. Now, you mentioned you reviewed the
13   not asking you to tell me the substance of the   13   debtors' Motion for an Order approving bidding
14   advice. But have you received any advice from    14   procedures, correct?
15   counsel as to whether you should reach out to    15       A. Yes.
16   T-side creditors, your constituency, in the      16       Q. What do you understand the debtors
17   case?                                            17   to seek to do by virtue of that Motion?
18           MS. O'CONNOR: With the limitation        18       A. My understanding is they have two
19       not to reveal any information you            19   basic objectives. First, to take advantage of
20       received from attorneys.                     20   the momentum that's in the case and the
21       A. To my recollection, no.                   21   favorable market conditions. And additionally
22       Q. Other than the deposition -- the          22   to provide for robust process and enough time
23   previous deposition and today's deposition in    23   for the potential bidders to conduct diligence
24   this case, have you had any direct               24   in an effort to maximize the value of any
25   communications with any T-side credit -- and     25   potential transaction and the estate.
                                          Page 343                                              Page 344
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2        Q. Well, my question is: What do you         2       Q. Do you know what they're asking the
 3   think the debtors are trying to sell pursuant     3   court for approval to sell specifically?
 4   to that Motion?                                   4       A. They're looking for the sale of the
 5        A. I believe the debtors are                 5   assets of reorganized EFH.
 6   attempting to sell Encore.                        6       Q. So you think it is an asset sale
 7        Q. And when you say Encore, what do          7   that's being proposed?
 8   you mean? What are they -- strike that.           8       A. They're asking for the sale of the
 9   Let's back up.                                    9   equity of the reorganized EFH.
10           What do the debtors own in               10       Q. Now, have you -- are you familiar
11   connection with Encore?                          11   with any other transactions in which a debtor
12        A. EFH, as the debtor, owns EFIH            12   has sought to sell reorganized equity?
13   100 percent, which, in turns, owns 100 percent   13       A. I am not.
14   of Oncor Holdings, which owns 80 percent of      14       Q. And have you -- does that concern
15   Oncor Electric Company. I believe they're        15   you that you're not familiar with any other
16   attempting to sell Oncor Electric Company and    16   similar-type transactions?
17   all the other entities associated.               17       A. Doesn't concern me at this point as
18        Q. So is it your understanding the          18   I am relying on the advice of our investment
19   debtors are trying to sell the stock of Oncor?   19   bankers and counsel.
20        A. I don't think they've reached any        20       Q. When you say your investment
21   potential conclusion as to the structure of      21   bankers and counsel, the "your" is who?
22   the sale process.                                22       A. The Evercore and Kirkland & Ellis.
23        Q. Well, you understand the debtors         23       Q. And the "your" meaning the entity
24   have filed the Motion, correct?                  24   they're representing is?
25        A. Yes.                                     25       A. EFH.
                                                                            6 (Pages 341 to 344)
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                                           Page 345                                             Page 346
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2       Q. EFH?                                       2   in this case, have you been concerned that
 3       A. Correct.                                   3   TCEH needed separate counsel or advice in
 4       Q. But you're an independent director         4   connection with these cases?
 5   of TCEH, correct?                                 5       A. No, I have not been concerned that
 6       A. Correct.                                   6   the T-side needs separate counsel and advice.
 7       Q. And does TCEH have any                     7       Q. Okay. Are you aware of any
 8   professionals that are representing it or         8   conflicts that exist between the T-side and
 9   representing its interest?                        9   the E-side?
10       A. Not at this time, no.                     10       A. I'm aware of the potential for
11       Q. And so when you say you've received       11   conflicts, but I do not believe those
12   advice from counsel with respect to the sale     12   conflicts have manifested themselves at this
13   of the reorganized equity here of the debtors,   13   point.
14   that advice is not from counsel to TCEH, but     14       Q. And what potential conflicts do you
15   counsel to the E-side, correct?                  15   see?
16           MS. O'CONNOR: Object to form.            16       A. Could be conflicts around stranded
17       A. Yes. The advice is coming from the        17   tax matters, for example.
18   advisors to the holding company to EFH and       18       Q. And if you could be more specific
19   represents all of the entities of EFH,           19   what do you mean by that?
20   including the T-side.                            20       A. It could be a stranded tax at the
21       Q. And that hasn't raised any concerns       21   E-side or the EFH level. EFH could
22   for you?                                         22   potentially -- a fiduciary of EFH could
23       A. Not at this time.                         23   potentially check the box and expose the
24       Q. Now, you said, "not at this time."        24   T-side entities to the stranded tax. But
25   Has -- at any time since you've been involved    25   there could be any number of potential
                                           Page 347                                             Page 348
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2   conflicts or claims throughout the pendency of    2   legal advice from Kirkland and equally good
 3   the case. At this point, those conflicts have     3   advice from Evercore, and although I recognize
 4   not manifested themselves.                        4   that a conflict could arise, I do not believe
 5       Q. Thank you for telling us about the         5   a conflict has arisen today.
 6   check the box. I'd like to understand today       6        Q. Let me ask you: Has anybody told
 7   your complete knowledge with respect to what      7   you whether or not this type of transaction;
 8   you referred to as potential conflicts of         8   that is, a proposed sale of reorganized equity
 9   claims throughout the pendency of the case.       9   that will exist in the future, has anybody
10       A. I think as the stakeholders may be        10   told you whether or not any similar-type
11   aware, there are potential claims involved       11   transactions have ever occurred?
12   here that have not yet been resolved. Have       12        A. No, not that I recall.
13   not yet been adjudicated and given that this     13        Q. Did you ever ask anybody whether
14   process is being conducted inside the            14   that was the case?
15   protection of the Chapter 11 process, I'm        15        A. I have not.
16   confident those will be resolved.                16        Q. Do you know if anybody at a board
17          And at this point, there is no            17   meeting or elsewhere has ever inquired as to
18   conclusion to reach as to the claims or plan     18   whether or not this type of proposed
19   of reorganization or allocation of proceeds.     19   transaction has ever taken place before?
20   There's nothing yet to decide.                   20        A. I don't know.
21       Q. And you don't think that the              21        Q. And if I were to tell you that this
22   potential -- those potential claims cause any    22   is a novel transaction which has never
23   concern for you today as to the advice you're    23   occurred before, would that cause you any
24   getting or from whom?                            24   concern?
25       A. I think I'm getting superb push           25        A. Not at this time, no.
                                                                            7 (Pages 345 to 348)
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                                          Page 365                                              Page 366
 1          CONFIDENTIAL - HUGH SAWYER                 1           CONFIDENTIAL - HUGH SAWYER
 2        Q. Well, is it fair to say that you          2   precluded alternative structures and the
 3   don't have enough facts to determine whether      3   Motion is also clear that as to any tax
 4   the Motion is good or bad for T-side              4   matters there would be need to be negotiations
 5   creditors?                                        5   among the stakeholders of the debtor.
 6           MS. O'CONNOR: Object to form.             6           So while the debtor has expressed
 7        A. I think -- no, I think the Motion         7   its bias for the tax free spin, it certainly
 8   is potentially favorable for the T-side           8   doesn't preclude other alternative structures.
 9   creditors if it enhances the overall economic     9   And, in fact, is quite transparent throughout
10   value of the estate depending, of course, on     10   the documentation that we welcome any other
11   how the court ultimately allocates proceeds      11   structure -- any other bidders that would
12   and on the plan of reorganization.               12   enhance and maximize the value of the estate.
13        Q. Let's talk about that. There's           13        Q. Fair enough. Let me -- let me put
14   really two components to the transactions        14   it this way: The -- you -- you understand
15   contemplated by the Motion. There's the tax      15   that the debtors have, within the Motion,
16   free spin on the T-side, correct?                16   referred to what is called as an optimum or
17        A. Yes.                                     17   optimal transaction, correct?
18        Q. And there's the sale of the              18           MS. O'CONNOR: Object to form.
19   reorganized E-side equity, correct?              19        A. The debtors have expressed through
20        A. Yes.                                     20   their filings, their view of a tax-free spin
21        Q. Those are the two substantive            21   of the T-side. However, they've also, I
22   components of the transactions contemplated by   22   think, been explicit in all of their filings
23   the Motion, correct?                             23   that that does not preclude a different
24        A. Partially correct, but the Motion        24   structure. And indeed, I believe they would
25   is also very explicit that the debtor has not    25   -- we have been clear we would welcome
                                          Page 367                                              Page 368
 1            CONFIDENTIAL - HUGH SAWYER               1           CONFIDENTIAL - HUGH SAWYER
 2   alternatives if it would maximize values of       2   or could be identified that would maximize
 3   the estate.                                       3   value greater than what's contemplated today.
 4        Q. You don't need to look, I'll just         4   And we welcome any other alternative
 5   -- I'll quote you on page 16 of the Motion.       5   structures that would maximize the value of
 6   It says, "they," referring to debtors,            6   the estate.
 7   "believe the optimal deal structure would be      7        Q. We'll talk about that in a little
 8   an equity investment in reorganized EFH           8   bit. I want to continue to focus on what's --
 9   combined with a tax-free spin of TCEH."           9   I think we've now at least tried to agree on
10            Correct?                                10   what the debtors referred to as the optimal
11            MS. O'CONNOR: Object to form.           11   structure.
12        Q. So I just want to come back -- I         12           So my question is: Let's just
13   want to make sure we're on the same page,        13   break it down. On the T-side where they'll be
14   which is that what the debtors in the Motion     14   a tax-free spin, how does that enure to the
15   have proposed, if you will, or referred to an    15   benefit of T-side creditors?
16   optimal transaction, that has two major          16           MS. O'CONNOR: Object to form.
17   components which is the tax-free spin on the     17        A. Well, the -- as you know, the IRS
18   T-side and the sale of the reorganized E-side    18   has not yet issued any ruling on any of the
19   equity; is that right?                           19   tax structure. This tax structure is
20        A. Based on the advice we've received       20   extraordinary complexed and there's been
21   from Evercore and Kirkland, and based on the     21   concern that a fiduciary on the EFH company
22   view of company management, that is the          22   could potentially check a box and expose the
23   optimal structure today.                         23   T-side entities to the federal income tax
24            However, that does not mean that        24   liability. So rather than the tax being
25   some other alternative may not be identified     25   stranded at EFH, expose the T-side entities.
                                                                         12 (Pages 365 to 368)
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                                          Page 369                                              Page 370
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2           So based on the research that has         2   tax-free spin is advantageous.
 3   been done to date, the tax-free spin would, in    3        Q. And how does that help the second
 4   fact, benefit the T-side creditors.               4   liens in the unsecured creditors on the
 5        Q. Which creditors?                          5   T-side?
 6        A. The T-side creditors.                     6        A. Depending on the -- because we
 7        Q. All of them?                              7   don't have -- we don't yet know what value
 8        A. It's too early to determine whether       8   will be created. We don't know what a plan of
 9   it would benefit all of them or the first or      9   reorganization will look like. We don't know
10   the second or the unsecureds. In my view, my     10   how proceeds will be allocated by the court.
11   business judgment, very early in this process.   11   It's not yet possible to know how or if it
12   We just don't know yet.                          12   will benefit all of the creditors.
13        Q. Well, I want to just explore what        13        Q. Okay. But are you aware that at
14   you said, which is -- I think in my words what   14   least to date the debtors' position has been
15   you said was, if there's a tax free -- if the    15   that the second liens in the unsecured and
16   tax-free spin is done creditors on the T-side    16   T-side are out of the money?
17   hopefully don't have to worry about a severe     17           MS. O'CONNOR: Object to form.
18   tax consequence. Is that generally correct?      18        A. I've heard that terminology used,
19   It lessens the worry of a severe tax             19   but I don't think, in my business judgment, we
20   consequence?                                     20   don't know yet what the outcome will be.
21           MS. O'CONNOR: Object to form.            21        Q. You, yourself, haven't reached any
22        A. Of course we don't have a ruling         22   conclusion as to whether or not the second
23   from the IRS and the outcome remains             23   liens, the unsecured on the T-side, are out of
24   uncertain, but based on the work that has been   24   the money?
25   done to date, the view of the debtor is a        25        A. I have not reached a conclusion yet
                                          Page 371                                              Page 372
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2   as to what the -- what the ultimate outcome of    2   related to the tax matters. But we don't yet
 3   this case will be, that's correct.                3   -- I'm not comfortable with the
 4       Q. But you understand that the                4   characterization that it's the only place
 5   debtors; that, is the debtors' professionals,     5   value would be created. I don't think we know
 6   have taken the position publicly that the         6   yet.
 7   second liens and the unsecured on the T-side      7        Q. Well, let me ask you just your
 8   are out of the money?                             8   understanding as an independent board member
 9           MS. O'CONNOR: Object to form.             9   on the T-side. If, in fact, as the debtors
10       A. I understand they've taken that           10   have taken the position, the second liens and
11   position. The case has not yet been              11   unsecureds are out of the money, would it be
12   adjudicated. We don't know what value will be    12   your expectation that their recoveries will be
13   created. We don't know what the plan of          13   zero or minimum?
14   reorganization will look like.                   14        A. I don't yet have an expectation as
15       Q. Well, when you say value created,         15   to the amounts of recoveries. Having lived
16   where is that value going to be created?         16   through other bankruptcies, it's not yet
17       A. Well, value could potentially be          17   possible to know what the recoveries will be.
18   created through the sale of this Encore asset.   18        Q. Do you recall what the debtors had
19       Q. Well, that's the only place, right,       19   proposed as recoveries for the second liens
20   because on the T-side what's being proposed is   20   and unsecured when the RSA was in place?
21   a tax-free spin. That's not going to create      21        A. I don't recall.
22   any value for the second liens or unsecured,     22        Q. And if I were to tell you it was
23   right?                                           23   minimal, something less than 1 or 2 percent,
24       A. Well, we would potentially avoid          24   does that refresh your recollection in that
25   the destruction of value, as we've discussed,    25   regard?
                                                                         13 (Pages 369 to 372)
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                                            Page 401                                              Page 402
 1          CONFIDENTIAL - HUGH SAWYER                  1           CONFIDENTIAL - HUGH SAWYER
 2        Q. Has there been any discussion that         2   proposed structure as set forth in the motion
 3   that will be the case?                             3   requires confirmation of a plan of
 4        A. Not that I recall.                         4   reorganization for all of the debtors before
 5        Q. Just give me one minute, I'm going         5   the proposed sale could close?
 6   to try --                                          6        A. Yes.
 7        A. Sure.                                      7        Q. And does that concern you from an
 8        Q. -- and expedite this for you.              8   execution risk point of view? And if you
 9           Are you aware that the debtors have        9   don't know what I mean, please ask.
10   filed recently what's been referred to as a       10        A. No, I don't think so. I don't -- I
11   tax memorandum?                                   11   think that any bidder for this asset is going
12        A. Yes, I think it's the Omnibus; yes.       12   to be very well aware that the company's in
13        Q. Okay. And is that -- have you read        13   bankruptcy and will need to confirm a plan of
14   that?                                             14   reorganization. These are sophisticated
15        A. I have.                                   15   bidders.
16        Q. Okay. Did you read it before it           16        Q. And you -- do you believe -- strike
17   was filed or after it was filed?                  17   that.
18        A. I read it after it was filed.             18           You're not concerned that the
19        Q. Was that something that was               19   bidders are being asked to bid in connection
20   discussed at any TCEH board meetings or           20   with an asset/transaction that won't close for
21   informally with the board?                        21   more than a year -- possibly won't close for
22        A. I don't re- -- I don't recall that        22   more than a year?
23   it was discussed either formally or informally    23        A. No, I'm not concerned because it's
24   with the board.                                   24   a -- a regulated utility. My understanding is
25        Q. Do you understand that the debtors'       25   that it could take as long as 12 to 18 months
                                            Page 403                                              Page 404
 1          CONFIDENTIAL - HUGH SAWYER                  1          CONFIDENTIAL - HUGH SAWYER
 2   to get all the regulatory approvals. And I am      2        Q. Okay.
 3   certain that any bidder will be aware of that,     3        A. I don't know if the -- I haven't
 4   as well, given the level of sophistication of      4   read it, so I don't know if the protocols for
 5   these bidders.                                     5   the case matters described herein have been
 6       Q. I want to show you what we're going         6   discussed with me previously, I'd have to look
 7   to mark as Exhibit 2, Sawyer 2, which is --        7   at it.
 8   and I'll just wait till you get it.                8        Q. All right. Let's just take a look
 9           (Sawyer Exhibit 2, Stipulation and         9   at Paragraph 4.
10       Agreed Order, Filed on 9/16/14 was            10        A. Um-hum.
11       marked for identification, as of this         11        Q. And I'll just read the first
12       date.)                                        12   sentence or part of it.
13    BY MR. JONAS:                                    13           "The independent directors of each
14       Q. What's been marked as Sawyer               14   of EFIH, EFCH and TCEH and EFH respectively,
15   Exhibit 2 is a stipulation and agreed order       15   each an independent director, are authorized
16   regarding a protocol for certain case matters.    16   to seek to retain separate advisors of his or
17           This was filed with the Court on          17   her choosing, each an independent advisor, to
18   September 16, 2014. I'll ask you to take a        18   advise or otherwise represent the applicable
19   look at that.                                     19   debtor," and then it goes on, I just read a
20           Have you seen this before?                20   part of it. Do you see what I just read?
21       A. I have not seen this.                      21        A. Yes.
22       Q. Okay. So I take it you never               22        Q. Okay. And so now that you see
23   familiarized yourself with the terms of the       23   that -- and would you agree with me where it
24   stipulation?                                      24   says "independent director," that means you,
25       A. I've testified I haven't seen it.          25   right?

                                                                          21 (Pages 401 to 404)
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                                            Page 409                                             Page 410
 1          CONFIDENTIAL - HUGH SAWYER                  1          CONFIDENTIAL - HUGH SAWYER
 2   the case in an effort to resolve those             2   separate advisors?
 3   parties' objections to the retention of            3           MS. O'CONNOR: Object to form.
 4   certain professionals?                             4        A. No.
 5       A. I have been kept, through                   5        Q. Okay.
 6   privileged conversations, very well informed       6        A. But as I've testified, I understood
 7   by Kirkland as to the concerns of the T-side       7   that I had that right.
 8   creditors.                                         8        Q. Okay. But nobody had a specific --
 9       Q. Well, are you aware that this               9   no one in this case has had a specific
10   stipulation was done?                             10   discussion with you that if you determined
11       A. As I've previously testified, I was        11   it's necessary or prudent to do so with
12   not aware that the stipulation had been filed.    12   respect to any -- what's defined here as
13   I may be aware of the content, but -- for         13   notice matter, then you can retain independent
14   example --                                        14   counsel, nobody's advised you of that?
15       Q. Okay.                                      15           MS. O'CONNOR: Object to form.
16       A. -- that I have -- that I have the          16        A. What I've said is, I've answered
17   right to select independent advisors.             17   yes to your previous question that I've had
18       Q. But I'm not asking whether you're          18   conversations that are privileged.
19   aware that generally you have the right to        19        Q. That's not my question.
20   independent advisors.                             20           My question is, that as set forth
21           I'm asking if you knew at the time        21   in this stipulation where a specific right was
22   or any time since then that the professionals     22   obtained for your benefit effectively, that if
23   in this case; that is, those that have signed     23   you determined it was necessary or prudent to
24   this stipulation, bargained for and obtained      24   do so with respect to any notice matter, you
25   the -- the -- the right for you to retain         25   are authorized to seek to retain separate
                                            Page 411                                             Page 412
 1          CONFIDENTIAL - HUGH SAWYER                  1          CONFIDENTIAL - HUGH SAWYER
 2   advisors; my question is, whether or not           2   of your choosing, correct?
 3   anyone has discussed that fact with you?           3       A. I'm very well aware that I'm
 4           MS. O'CONNOR: Object to form.              4   authorized to seek separate counsel of my
 5       A. I can't reveal privileged                   5   choosing.
 6   conversations. As I've testified, I'm very         6       Q. Again, my question, sir, is, you're
 7   well aware and was aware of --                     7   not aware that a few weeks ago -- and no one's
 8       Q. I'm not asking -- sir, I'm not              8   told you in this case, that a few weeks ago
 9   asking you to reveal the content of privileged     9   the debtors bargained for and negotiated a
10   communications.                                   10   right for you where you determined that a
11           Have you discussed with counsel the       11   potential conflict has become an actual
12   fact that this stipulation provides that you      12   conflict, you are authorized to seek to retain
13   are authorized to seek to retain separate         13   separate advisors of your choosing, no one's
14   advisors if you determine it's necessary or       14   made you aware of that, have they?
15   prudent to do so with respect to any notice       15           MS. O'CONNOR: Objection to form.
16   matter. That's a yes or no?                       16       And I think he's answered this
17       A. I have not discuss with counsel            17       question a couple of times.
18   this stipulation.                                 18       Q. Well, we can get one more yes or
19       Q. Okay. So I take it you haven't             19   no.
20   discussed with counsel or anyone else and         20       A. I do not recall that I was advised
21   you're not aware that this stipulation            21   that the T-side debtors had negotiated this
22   provides that if you determine that a             22   stipulation and order. However, I believe
23   potential conflict has become an actual           23   that I have this right without the stipulation
24   conflict under applicable law, that you're        24   and order.
25   authorized to seek to obtain separate advisors    25       Q. Okay. I don't want to be belabor,
                                                                          23 (Pages 409 to 412)
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 1           CONFIDENTIAL - HUGH SAWYER                1          CONFIDENTIAL - HUGH SAWYER
 2   taxable transaction, when we have a plan of       2       A. Which; I'm sorry?
 3   reorganization underway at some point in the      3       Q. Exhibit 2.
 4   process it will be important to understand all    4       A. Okay.
 5   of the tax implications to the T-. Side, but      5       Q. First of all, let me ask some basic
 6   that day is not today.                            6   questions. Do you know whether this
 7        Q. You say "we," and as I understand         7   stipulation was ever presented to the TCEH
 8   it, there's only a you; that is, you are the      8   board or EFCH board for approval?
 9   only sole TCEH fiduciary. Can you testify         9       A. To my belief, it was not presented
10   under oath now that when that issue comes,       10   for approval.
11   you're going to be seeking independent legal     11       Q. All right. So if you turn to -- I
12   advice and aren't going to go to the lawyer      12   just want to know what you know. You got
13   for the Defendant in that lawsuit to tell you    13   asked about whether you knew you had a right
14   what the contract means?                         14   to get counsel. But I want to ask you through
15           MS. O'CONNOR: Object to form.            15   some specific things.
16        A. By "we," I mean the T-side board.        16           Can you turn to page 2?
17   And I am not yet prepared to testify today       17       A. Okay.
18   that I would be seeking independent advice. I    18       Q. Were you aware that
19   have no idea yet what this transaction is        19   Kirkland & Ellis was signing a document which
20   going to look like or what the structure will    20   was going to bind the TCEH estates to certain
21   be whether it will be taxable or tax-free spin   21   corporate governance matters?
22   up. I don't know yet.                            22           MS. O'CONNOR: Object to form.
23        Q. Can you open up Exhibit 2, the           23       A. Which paragraph?
24   Stipulation and Agreed Order Regarding a         24       Q. Paragraph one. It says, "This
25   Protocol for Certain Case Matters?               25   Stipulation and Order is intended to bind and
                                           Page 475                                             Page 476
 1          CONFIDENTIAL - HUGH SAWYER                 1          CONFIDENTIAL - HUGH SAWYER
 2   enure to the benefit of the parties."             2   behalf you have been required to consult with
 3           You see that?                             3   the TCH creditor representatives regarding the
 4       A. Um-hum.                                    4   selection of independent counsel?
 5       Q. You understand one of the parties          5       A. I was not aware.
 6   here is TCEH?                                     6       Q. If you turn to page 7 -- no, page
 7       A. Right.                                     7   4, sorry, paragraph 7. Page 4, paragraph 7.
 8       Q. Were you aware that counsel was            8       A. Okay.
 9   signing a stipulation that was going to bind      9       Q. Down at the bottom, it says, "The
10   TCEH?                                            10   debtors and K&E will facilitate the TCH
11       A. And as I think I previously               11   creditors' representatives diligence of the
12   testified, I was not aware of this document so   12   rights and potential claims, causes of action
13   then, therefore, I was not aware.                13   and defenses of the TCEH debtors against or
14       Q. Can you turn to paragraph four,           14   with respect to other debtors."
15   please.                                          15           You see that?
16       A. Okay.                                     16       A. I do.
17       Q. If you go down to -- after the            17       Q. Were you aware that TCEH has
18   definition of "independent matters," there's a   18   committed to facilitating investigation of
19   sentence. You see that it's down five lines      19   TCEH claims?
20   up from the bottom. It says, "The independent    20           MS. O'CONNOR: Object to form.
21   directors of EFCH and TCH shall consult with     21       A. I'm sorry; will you restate that?
22   the creditors' representatives regarding the     22       Q. Sure. Were you aware, until just
23   selection of an independent advisor or           23   now, that TCEH, which is a debtor, has
24   independent advisors."                           24   committed to facilitate this side of the
25           Were you aware that that on your         25   table's investigation of TCH, whatever TCH
                                                                         39 (Pages 473 to 476)
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 1          CONFIDENTIAL - HUGH SAWYER                 1       CONFIDENTIAL - HUGH SAWYER
 2   companies against the parents or the parents      2    of privilege, once again for the
 3   against the individual companies. There were      3    record.
 4   any number of claims reviewed.                    4        I don't believe any consultation
 5       Q. Did you get any independent advice         5    this witness had with either Kirkland
 6   about the economic effects on EFH? Not TCEH,      6    or with Sidley about the
 7   but EFH of checking the box?                      7    enforceability or inability to check
 8           MS. O'CONNOR: Object to form, but         8    the box, or fences thereto, could
 9       go ahead.                                     9    possibly constitute privileged
10       A. Not that I recall.                        10    communication. And if necessary,
11       Q. So you didn't do that to determine        11    we'll involve the course in forcing
12   whether the threat of checking the box was       12    this witness to answer the question.
13   real or a bluff economically?                    13        MS. O'CONNOR: Which question are
14       A. I've had advice from Kirkland.            14    you --
15   I've had advice from Sidley. The advice is       15        MR. WEISFELNER: Any question that
16   privileged as to the legal matters related to    16    has been asked about the advice he got
17   the opportunity to check the box. And as I've    17    from Kirkland or Sidley. He's
18   previously testified, we don't have a position   18    asserted a privilege. I don't think
19   yet from the IRS on any of these complex         19    that assertion of privilege is
20   matters.                                         20    justifiable and we'll ask the court to
21           And in my view, it's still early on      21    rule on it either before or during the
22   in the process to retain independent             22    trial.
23   third-party economic advice.                     23        And by the way, will you be making
24           MR. WEISFELNER: I'm going to             24    Mr. Sawyer available as a trial
25       impose an objection on the assertion         25    witness?
                                          Page 511                                               Page 512
 1          CONFIDENTIAL - HUGH SAWYER                 1           CONFIDENTIAL - HUGH SAWYER
 2           MS. O'CONNOR: On the bidding              2        A. Okay.
 3       procedures motion? We can address             3        Q. Do you understand the second to
 4       that after his deposition.                    4    last sentence of that paragraph to say that
 5           MR. WEISFELNER: Well, I'm telling         5    checking the box would also be disadvantageous
 6       you now that we want him as a trial           6    to the creditors of EFH?
 7       witness. So you can either tell us --         7        A. That's what it says, yes.
 8           MS. O'CONNOR: Okay. I'm telling           8        Q. Did Kirkland give you that advice
 9       you right now we'll get back to you on        9    before filing the tax memorandum?
10       that. Thank you for letting us know.         10        A. I don't recall if Kirkland gave me
11           MR. WEISFELNER: Sure.                    11    this advice before filing the tax memorandum.
12    BY MR. MARTIN:                                  12        Q. Did they give you that advice
13       Q. Was there any written advice to the       13    before the bidding procedures were filed?
14   TCEH board about the check the box issue prior   14        A. As to this last sentence that a
15   to the tax memorandum being filed?               15    check the box would be an adverse outcome for
16       A. Not that I recall.                        16    all parties, I have received that advice
17       Q. Can you point out the tax memo? I         17    certainly before the bidding procedures were
18   forget which Exhibit Number it is.               18    filed.
19           MS. O'CONNOR: 12.                        19        Q. By all parties you understood at
20       Q. If you go to page 21, please.             20    that time the advice was given to include EFH?
21       A. Okay.                                     21        A. That a check the boxy election
22       Q. If you read the middle paragraph,         22    would be an adverse outcome for all parties.
23   the first full paragraph on that page, "While    23    That was my understanding, yes.
24   a check the box election," if you could read     24        Q. And that all parties included an
25   that for a moment.                               25    adverse result for EFH, not just TCEH?
                                                                          48 (Pages 509 to 512)
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 1          CONFIDENTIAL - HUGH SAWYER                 1           CONFIDENTIAL - HUGH SAWYER
 2       A. I don't recall if I specifically           2    gotten in this circumstance has come from
 3   focused on EFH. I was focused on the T-side.      3    Kirkland.
 4       Q. In other words, you were not               4        Q. When were you first aware of
 5   focused on the question of whether EFH would      5    concerns relating to EFH checking the box with
 6   have, in its own interest, actually checked       6    respect to TCEH?
 7   the box?                                          7        A. I don't recall the date at which I
 8       A. I was focused on the hypothetical          8    became concerned.
 9   situation that EFH could or a fiduciary of EFH    9        Q. When did you become a director of
10   could check the box to protect the interest of   10    TCEH?
11   EFH. And I was certainly focused on the          11        A. In the fall.
12   potential detrimental impact on the T-side.      12        Q. And did you become aware of the
13       Q. Did Sidley give any advice on these       13    check the box issue before or after the filing
14   topics?                                          14    of the bankruptcy?
15       A. I don't recall any specific advice        15        A. I don't recall.
16   that Sidley may have given on these topics.      16        Q. You've been involved in large
17       Q. Did any other law firm or tax             17    Chapter 11 cases before; is that correct?
18   advisor give any advice to you on this           18        A. Yes. Depending on your definition
19   question of whether EFIH would be adversely --   19    of large.
20   I'm sorry; EFH would be adversely affected by    20        Q. Multi billion dollar cases.
21   a check the box either before the bidding        21        A. Yes.
22   procedures were filed or before TCEH signed      22        Q. And have any of those cases been in
23   the tax memorandum?                              23    the energy sector?
24           MS. O'CONNOR: Object to form.            24        A. Yes.
25       A. The substantial tax advice I had          25        Q. And are you aware that there's a
                                          Page 515                                               Page 516
 1           CONFIDENTIAL - HUGH SAWYER                1           CONFIDENTIAL - HUGH SAWYER
 2   stay -- an automatic stay or injunction of        2    case called Edison Mission Energy?
 3   actions that arises when the bankruptcy case      3         A. I'm familiar.
 4   is filed?                                         4         Q. Did you have a position with
 5        A. Yes.                                      5    Mission?
 6        Q. Did you consider whether TCEH might       6         A. I did.
 7   have gone to court to determine whether EFH       7         Q. What was that?
 8   could check the box after a bankruptcy filing?    8         A. The -- I was the independent
 9        A. I don't recall that I did consider        9    director -- excuse me, one of the independent
10   that.                                            10    directors.
11        Q. Do you have any reason to believe        11         Q. How many independents directors
12   you did consider that?                           12    were there?
13        A. I have reason to believe that            13         A. There were two.
14   Sidley, in its role as third-party counsel,      14         Q. Did Edison Mission Energy have a
15   considered any number of potential actions       15    parent company?
16   that might be available to all the parties to    16         A. They did.
17   this case.                                       17         Q. Were there substantial tax disputes
18        Q. But you didn't consider that?            18    between the two companies as part of the
19        A. I think I testified I don't recall.      19    Chapter 11 case?
20        Q. You don't have any reason to think       20         A. Yes.
21   you did consider it?                             21         Q. Did Edison Mission seek to block
22        A. I may have considered it in my           22    its parent company from taking certain tax
23   review of potential claims with Sidley. I        23    actions that could be adverse to Edison
24   just don't recall.                               24    Mission during that bankruptcy case?
25        Q. Are you familiar with a Chapter 11       25         A. To my recollection, yes.
                                                                          49 (Pages 513 to 516)
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                                          Page 517                                               Page 518
 1          CONFIDENTIAL - HUGH SAWYER                 1           CONFIDENTIAL - HUGH SAWYER
 2       Q. As an Edison Mission director, did         2        A. That's my recollection.
 3   you vote on and approve the filing of the         3        Q. Who was counsel to Edison Mission
 4   Edison Mission reorganization plan in that        4    in that case?
 5   case?                                             5        A. Kirkland & Ellis.
 6       A. Yes.                                       6        Q. When was that case?
 7       Q. Was the authority to approve that          7        A. That case took place over the last
 8   plan delegated to the independent directors in    8    few years.
 9   that case?                                        9        Q. The last two years?
10       A. Can you be more specific as to the        10        A. That's about right.
11   authority?                                       11        Q. Can you give me any reason why you
12       Q. Sure. Did the full board of Edison        12    wouldn't consider something like that in this
13   Mission delegate the authority to approve the    13    case?
14   plan to a special committee consisting of the    14        A. Something like what?
15   independent directors or to the independent      15        Q. TCEH seeking to block EFH from
16   directors?                                       16    checking the box.
17       A. There were only three board               17        A. Facts and circum -- I think as I
18   members. One of those board members was the      18    previously testified, I have not yet
19   president of Edison Mission. The other two       19    considered to my recollection that alternative
20   board members were independents.                 20    here. Although I may have considered it in
21       Q. Thank you. And that plan included         21    consultation with Sidley, the facts and
22   an injunction to block EME's parent company      22    circumstances are different in both of these
23   from taking certain tax actions that could       23    cases, as I'm sure you understand.
24   have been adverse to the debtor; is that         24            And as to your question, I can't
25   correct?                                         25    speculate as to what I may or may not do over
                                          Page 519                                               Page 520
 1          CONFIDENTIAL - HUGH SAWYER                 1           CONFIDENTIAL - HUGH SAWYER
 2   the pendency of this case.                        2        Q. Have you ever been in a board
 3       Q. Did you ever consult with Sidley           3    meeting where Sidley gave advice on these
 4   outside of a board meeting?                       4    topics?
 5       A. Yes.                                       5        A. Not that I recall.
 6       Q. On how many occasions?                     6        Q. So as far as you know, Sidley has
 7       A. On one occasion.                           7    never given anyone advice on these topics to
 8       Q. Do you recall when that was?               8    the TCEH board?
 9       A. I don't.                                   9        A. As I previously testified, Sidley
10       Q. Before or after the bankruptcy case       10    gave advice on a wide range of potential
11   was filed?                                       11    claims to the independent director of the TCEH
12       A. I don't recall the exact timing of        12    board.
13   the discussions. I really don't.                 13        Q. In that one meeting you had with
14       Q. Do you recall how long a meeting          14    them?
15   that was?                                        15        A. That's right.
16       A. Several hours.                            16        Q. And Kirkland & Ellis was present
17       Q. And that was just you and Sidley?         17    for that meeting?
18       A. Sidley, myself, Kirkland & Ellis          18        A. That's right.
19   and representatives of the company.              19        Q. Are you aware that first round bids
20       Q. So any discussion with Sidley about       20    are due under the bidding procedures on
21   this topic would have occurred either in a       21    October 23rd?
22   board meeting or at that meeting?                22        A. Yes.
23       A. The discussions that I participated       23        Q. And that's just six days after the
24   in with Sidley occurred in a private session     24    debtors are seeking approval of the bidding
25   outside the board meeting.                       25    procedures; is that correct?
                                                                          50 (Pages 517 to 520)
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